Case 3:19-cv-00010-NKM-JCH Document 31 Filed 10/22/19 Page 1 of 1 Pageid#: 91

                                                                                       10/22/2019

                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE DIVISION

  JOHN PETER MISKA,
                                                     CASE NO. 3-19-cv-00010
                                    Plaintiff,

  v.
                                                      ORDER
  THE CITY OF CHARLOTTESVILLE,
                                                      JUDGE NORMAN K. MOON
                                      Defendant.



          Plaintiff John Peter Miska and Defendant The City of Charlottesville, by and through their

  counsel, hereby stipulate and agree that all matters in controversy between them have been resolved.

  (Dkt. 30). Accordingly, it is hereby ORDERED that this action be DISMISSED with prejudice

  and thereby STRICKEN from the active docket of the Court.

         It is so ORDERED.

         The Clerk is directed to send a copy of this Order to Plaintiff’s counsel.

                    22nd day of October, 2019.
       Entered this _____
